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                                                   EXHIBIT A                      CLERK OF SUPERIOR COURT
                                                                                    TIFT COUNTY, GEORGIA
                                                                                    2022CV0123
                    IN THE SUPERIOR COURT OF THE STATE OF GEORGIA
                                IN AND FOR TIFT COUNTY            MAR 24, 2022 06:08 PM


BRENDAN PURNELL,                                          )
     PLAINTIFF,                                           )
                                                          )
           V.                                             )    CIVIL ACTION NO.
                                                          )
PEPSICO, INC. and TARGET                                  )
CORPORATE SERVICES, INC.                                  )
     DEFENDANTS.                                          )

                                                   COMPLAINT

           NOW COMES BRENDAN PURNELL (hereinafter “Plaintiff”), in

propria persona sui juris, who moves this Honorable Court with

his COMPLAINT against the above-captioned defendants. In support

thereof, he avers the following facts:

                                                 I. PARTIES.

           1. Plaintiff, Brendan Purnell, is a Georgia resident with a

mailing address of: 2330 Scenic Hwy, Suite 300, Snellville, GA

30078.

           2. Defendant PEPSICO, INC. (hereinafter “Pepsico”) is a New

York Corporation1 whose Georgia Registered Agent is CT

Corporation System with an address of: 289 S Culver St,

Lawrenceville, GA, 30046-4805, USA.

           3. Defendant TARGET CORPORATE SERVICES, INC. (hereinafter

“Target”) is a Minnesota Corporation2 whose Georgia Registered




1
    PepsiCo, Inc.,700 Anderson Hill Road, Purchase, NY, 10577, USA.
2
    1000 NICOLLET MALL, TPS-3155, Minneapolis, MN, 55403, USA.
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Agent is CT Corporation System with an address of: 1201

Peachtree Street, NE, Atlanta, GA, 30361, USA.

                                 II. STATEMENT OF FACTS.

           4. Plaintiff is in the freight-haul/ trucking industry.

           5. He routinely coordinates with other drivers, independent

owner/ operators, trucking carriers, brokers, et. al. in the due

diligence of his career.

           6. Plaintiff leased a trailer unit to allow himself and

other industry affiliates to properly execute the performance of

their duties as freight haulers.

           7. The Plaintiff has paid, and continues to pay, lease

payments for the trailer, which has allowed him the right to

equitable interest in the trailer.3

           8. On December 14, 2021, Mr. Derrick Bracey (hereinafter

“Agent”) was dispatched to Target’s location in Tifton, GA, to

retrieve the Plaintiff’s empty trailer, which had been dropped

off at Target’s location circa one (1) week earlier.

           9. The Agent was checked in by Target’s security and

instructed to go into the lot and retrieve the trailer.

           10. A 30-minute search of Target’s lot ensued, and the

Agent was unable to locate the Plaintiff’s trailer.




3
    See UCC 9-202, inter alia.
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    11. Agent initiated inquiry with Target’s security who

informed him that another company had removed the Plaintiff’s

trailer from the lot. Security identified the company as

Pepsico.

    12. The following day, the Agent spoke with “Clint,” a

Pepsico representative. “Clint” stated that upper management

needed to be contacted; and they would locate the Plaintiff’s

trailer.

    13. Subsequently, and on December 16, 2021, a person by the

name “Julian Jones” was contacted as representative for Pepsico

who readily admitted that Pepsico took the Plaintiff’s trailer

without authorization from Target in Tifton, GA to Gatorade in

Atlanta, GA.

    14. Plaintiff was engaged in all the aforementioned

communication.

    15. Agent reported to the Gatorade location in Atlanta to

locate the Plaintiff’s trailer, but was unsuccessful, due to the

trailer not being there.

    16. In desperation, the Agent called the Atlanta Police

Department and reported the trailer stolen.

    17. Thereafter, the leasing company of the Trailer, Metro,

performed a GPS search of the trailer at the requests of the

Plaintiff.
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    18. The GPS yielded a result of the trailer’s location at

Lincoln Electric in Lithia Springs, GA.

    19. On his arrival to retrieve the equipment, the Agents

was again notified that the trailer had been moved. This time it

was taken back to Tifton. After dispatching a unit to pick-up

the trailer, the Agent was met with absence and uncertainty. The

trailer vanished again.

    20. Finally, the Agent was able to locate the trailer at

Target in Tifton, where he promptly called the Tifton Police

Department, who came out and left information with Target that

the trailer had been removed without permission and was not to

be moved again without contacting either the police or the

rightful owner.

    21. Plaintiff retrieved his trailer after more than 1-month

of unauthorized use by Pepsico.

    22. The foregoing forms the basis for the Plaintiff’s

instant Complaint before this Honorable Court.

                      III. STATEMENT OF CLAIM.

    23.   The plaintiff incorporates by factual reference

paragraphs 1 thru 22 of this Complaint, and avers the following

in addition:
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COUNT ONE:   LEASEHOLD INTEREST.

    A.   Plaintiff had, from the time he placed the promissory

note in escrow pending performance of the lease of his trailer,

an equitable title to the leasehold estate or interest in the

property.

    B.   By recording the lease, Metro Trailer Leasing,

effectively gave lawful cognizance to the Plaintiff’s equitable

title and leasehold to the trailer.

    C.   The Plaintiff never publicly, privately, or tacitly

abandoned his leasehold.

    D.   By agreeing with Pepsico to allow the unauthorized use

of the Plaintiff’s trailer, which inter alia, caused the

Plaintiff to be locked out of a sundry of business obligations

and associated revenue streams, Target and Pepsico collectively

deprived Plaintiff of his leasehold interest.

COUNT TWO:   CONVERSION.

    A. Plaintiff complains that Pepsico’s actions were tortious

in nature, pursuant to O.C.G.A. 9.11-111.

    B. Pepsico used the Plaintiff’s trailer without

authorization and/ or agreement (directly or indirectly) to

promote, promulgate, and directly benefit from the commercial

usage thereof.
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           C. Pepsico knew, or reasonably should have known that the

Plaintiff’s trailer was not subject to commercial usage for its’

private gain.

           D. Plaintiff has been harmed and damaged as a direct and

proximate result of Pepsico’s conversion of his property, which

is properly before this Honorable Court.

           E. Pepsico unjustly enriched itself by conversion of the

Plaintiff’s trailer.

COUNT THREE: CIVIL CONSPIRACY.

           A. “A conspiracy is a combination of two or more persons to

accomplish an unlawful end or to accomplish a lawful end by

unlawful means. To recover damages for a civil conspiracy claim,

a plaintiff must show that two or more persons, acting in

concert, engaged in conduct that constitutes a tort. Absent the

underlying tort, there can be no liability for civil

conspiracy.”4

           B. Plaintiff avers and argues that Pepsico and Target knew,

or reasonably should have known that Pepsico did not have

authorization to take the Plaintiff’s trailer.

           C. By allowing Pepsico to remove the Plaintiff’s property

from its’ lot without authorization, Target conspired with

Pepsico to engage in the tort of conversion.




4
    Miller vs. Lomax, 596 S.E.2d 232 (2004).
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     D. The facts in this case conclude that Target knew the

trailer to be the property of the Plaintiff as evidenced in its’

allowing Plaintiff’s Agent to come onto the property to retrieve

the trailer.

     E. Moreover, Pepsico unlawfully removed the trailer from

Target with Target’s permission and approval, and eventually

returned the trailer to Target.

     F. Civil conspiracy is affront, and clearly discernible by

the actions of both Defendants.

     G. Plaintiff has been damaged by the Defendants’ actions.

                             RELIEF SOUGHT

     24.    WHEREFORE, the Plaintiff prays for damages to be

awarded in the amount of $50,000 for loss revenue, $100,000 for

punitive damages, plus court costs, legal fees, and travel

expenses to and from court.

                                        Respectfully Submitted,


                                        Brendan Purnell
                                        Plaintiff
                                        2330 Scenic Hwy, Suite 300
                                        Snellville, GA 30078
                                        (770) 789-5001




Dated: March 24, 2022
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           IN THE SUPERIOR COURT OF THE STATE OF GEORGIA
                       IN AND FOR TIFT COUNTY

                                 PRAECIPE

BRENDAN PURNELL,                     )
     PLAINTIFF,                      )
                                     )
     V.                              )   CIVIL ACTION NO.
                                     )
PEPSICO, INC. and TARGET             )
CORPORATE SERVICES, INC.             )
     DEFENDANTS.                     )

     Please issue the following COMPLAINT to:


PEPSICO, INC.
C/O CT CORPORATION SYSTEM
(GA REGISTERED AGENT)
289 S CULVER STREET
LAWRENCEVILLE, GA, 30046-4805, USA

TARGET CORPORATE SERVICES, INC.
C/O CT CORPORATION SYSTEM
(GA REGISTERED AGENT)
1201 PEACHTREE STREET
NE, ATLANTA, GA, 30361, USA




                                         Brendan Purnell
                                         Plaintiff
                                         2330 Scenic Hwy, Suite 300
                                         Snellville, GA 30078
                                         (770) 789-5001




Dated: March 24, 2022
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             IN THE SUPERIOR COURT OF THE STATE OF GEORGIA
                         IN AND FOR TIFT COUNTY

                                   PRAECIPE

BRENDAN PURNELL,                       )
     PLAINTIFF,                        )
                                       )
    V.                                 )   CIVIL ACTION NO.
                                       )
PEPSICO, INC. and TARGET               )
CORPORATE SERVICES, INC.               )
     DEFENDANTS.                       )

THE STATE OF GEORGIA,
TO THE SHERIFF OF TIFT COUNTY:
YOU ARE COMMANDED:

     To summon the above-named defendant so that, within 20 days
after service hereof upon defendant, exclusive of day of
service, Defendant shall serve upon, PEPSICO, INC., whose
address is C/O CT CORPORATION SYSTEM, (GA REGISTERED AGENT)289 S
CULVER STREET, LAWRENCEVILLE, GA, 30046-4805, USA , an answer to
the complaint (and, if the complaint contains a specific
notation requiring the defendant to answer any or all
allegations of the complaint by affidavit, an affidavit of
defense).
     To serve upon the Defendant a copy hereof and of the
complaint.

Dated:
                                                         Clerk of Court

TO THE ABOVE-NAMED DEFENDANT:

     In case of your failure, within 20 days after service
hereof upon you, exclusive of the day of service, to serve on
the Plaintiff’s attorney named above an answer to the complaint
(and, if the complaint contains a specific notation requiring
the defendant to answer any or all allegations of the complaint
by affidavit, an affidavit of defense), judgment by default will
be rendered against you for the relief demanded in the
complaint.

                                                         Clerk of Court
